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                             8                       IN THE UNITED STATES DISTRICT COURT

                             9                    FOR THE NORTHERN DISTRICT OF CALIFORNIA

                            10                                SAN FRANCISCO DIVISION

                            11 THE INTERCEPT and LEE FANG,                 Case No. 3:20-cv-07739
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                            12                      Plaintiffs,            COMPLAINT FOR DECLARATORY AND
                                                                           INJUNCTIVE RELIEF FOR VIOLATION
                            13         v.                                  OF THE FREEDOM OF INFORMATION
                                                                           ACT, 5 U.S.C. § 552 et seq.
                            14 DEPARTMENT OF DEFENSE; SECURITIES
                               AND EXCHANGE COMMISSION;
                            15 DEPARTMENT OF HOMELAND SECURITY;
                               OFFICE OF MANAGEMENT AND BUDGET;
                            16 DEPARTMENT OF TRANSPORTATION;
                               DEPARTMENT OF HEALTH AND HUMAN
                            17 SERVICES; INTERNAL REVENUE SERVICE;
                               and, DEPARTMENT OF TREASURY,
                            18
                                                Defendants.
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                             1          Plaintiffs The Intercept and Lee Fang (collectively “Plaintiffs”), by their undersigned
                             2 attorneys, allege as follows:

                             3                                          INTRODUCTION
                             4          1.     The Intergovernmental Personnel Act (“IPA”) is designed to allow federal agencies
                             5 to operate in a more efficient and productive manner.1 Using the procedures of the IPA,

                             6 assignments to or from state and local governments, institutions of higher education, Indian tribal

                             7 governments and other eligible organizations are intended to facilitate cooperation between the

                             8 federal Government and the non-federal entity through the temporary assignment of skilled

                             9 personnel. These assignments allow civilian employees of federal agencies to serve with eligible

                            10 non-Federal organizations for a limited period. Starting on June 29, 2020, The Intercept

                            11 Investigative Reporter Lee Fang made FOIA requests to nine governmental agencies requesting
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                            12 information on officials hired through the IPA program. More than four months after Plaintiffs

                            13 made its FOIA Requests, no responsive documents have been produced.

                            14          2.     Plaintiffs bring this action under the Freedom of Information Act, 5 U.S.C. § 552 et
                            15 seq., as amended (“FOIA”), to enjoin the Department of Defense, the Securities and Exchange

                            16 Commission, the Department of Homeland Security, the Office of Management and Budget, the

                            17 Department of Transportation, the Department of Health and Human Services, the Department of

                            18 Treasury, and the Internal Revenue Service, from continuing to improperly withhold agency

                            19 records that are responsive to the FOIA requests Plaintiffs sent starting in June 2020 (the “FOIA
                            20 Requests’). This FOIA action is necessary because Defendants continue to withhold responsive

                            21 records since Plaintiffs made the FOIA Requests over four months ago, a constructive denial of

                            22 the FOIA Requests.

                            23          3.     The Freedom of Information Act “focuses on the citizens’ right to be informed
                            24 about ‘what their government is up to,’” by requiring the release of “[o]fficial information that

                            25 sheds light on an agency’s performance of its statutory duties.” DOJ v. Reporters Comm. for

                            26 Freedom of the Press, 489 U.S. 749, 750, 773 (1989) (citation omitted). “[D]isclosure, not

                            27
                            28   1
                                  See https://www.opm.gov/policy-data-oversight/hiring-information/intergovernment-personnel-
                                 act/#url=Provisions
                                                                              1
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                             1 secrecy, is the dominant objective” of FOIA. Dept’t of Interior v. Klamath Water Users

                             2 Protective Ass’n, 532 U.S. 1, 8, (2001) (internal quotation marks and citations omitted). Intercept

                             3 plays a critical role in providing information to citizens about “what their government is up to.”

                             4 Indeed, the First Amendment’s guarantee of freedom of the press is meant to enable journalists to

                             5 play an “essential role in our democracy,” to “bare the secrets of government and inform the

                             6 people.” New York Times. Co. v. United States, 403 U.S. 713, 717 (1971) (Black, J. concurring).

                             7             4.     Through its FOIA Requests, Plaintiffs seek to shine a public light on information
                             8 about the Defendants’ use of personnel under the IPA.

                             9                                                  PARTIES
                            10             5.     Plaintiff The Intercept is an award winning news organization. Its in-depth
                            11 investigations focus on politics, war, surveillance, corruption, the environment, technology,
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                            12 criminal justice, and the media. It gives its journalist the editorial freedom and legal support to

                            13 expose corruption and injustice. EBay founder and philanthropist Pierre Omidyar continues to

                            14 support The Intercept through First Look Media Works, a nonprofit organization.2

                            15             6.     Plaintiff Lee Fang is a resident and citizen of the state of California and an
                            16 investigative reporter who works for The Intercept from an office in San Francisco, California.

                            17             7.     Defendant Department of Defense is a component of the Executive Branch of the
                            18 United States Government.

                            19             8.     Defendant Securities and Exchange Commission is a component of the Executive
                            20 Branch of the United States Government.

                            21             9.     Defendant Department of Homeland Security is a component of the Executive
                            22 Branch of the United States Government.

                            23             10.    Defendant Office of Management and Budget is a component of the Executive
                            24 Branch of the United States Government.

                            25             11.    Defendant Department of Transportation is a component of the Executive Branch
                            26 of the United States Government.

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                                     See https://theintercept.com/about/
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                             1          12.      Defendant Department of Health and Human Services is a component of the
                             2 Executive Branch of the United States Government.

                             3          13.      Defendant Department of Treasury is a component of the Executive Branch of the
                             4 United States Government.

                             5          14.      Defendant Department of Internal Revenue Service is a component of the
                             6 Executive Branch of the United States Government, and a division of the Department of Treasury.

                             7          15.      Defendants are each an “agency” within the meaning of 5 U.S.C. § 552(f).
                             8          16.      Plaintiffs are informed and believe that each Defendant has possession and control
                             9 of the records sought by the FOIA Request.

                            10                                             JURISDICTION
                            11          17.      This Court has subject-matter jurisdiction over this action and personal jurisdiction
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                            12 over the parties under 5 U.S.C. § 552(a)(4)(B), 5 U.S.C. § 701-706, and 28 U.S.C. § 1331.

                            13                                                 VENUE
                            14          18.      Venue in the Northern District of California is proper under 5 U.S.C.
                            15 § 552(a)(4)(B) as Mr. Fang’s work for The Intercept and his FOIA Requests to the Defendants

                            16 occurred in San Francisco County. For the same reason, venue also is proper under 28 U.S.C. §

                            17 1391(e).

                            18          19.      Assignment to the San Francisco Division is proper under Civil Local Rule 3-2(c)
                            19 and (d) because Mr. Fang’s work for The Intercept and his FOIA Requests to Defendants occurred
                            20 in San Francisco County, within this District.

                            21                                                  FACTS
                            22          20.      Mr. Fang, while employed as an investigative reporter for The Intercept, sent a
                            23 FOIA Request to the Department of Defense (“DOD”) on June 29, 2020. He requested copies

                            24 (including electronic records) of:

                            25                a. written agreements and reports filed under the Intergovernmental Personnel Act
                            26                   (IPA) for all officials appointed under this program during the period of Jan. 21,
                            27                   2017 through June 25, 2020 to this agency; and
                            28

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                             1                  b. any filings related to §334.106, §334.107, §334.108 and §334.103 of the law,
                             2                     which include any written agreements between personnel & agency outlining the
                             3                     responsibilities for personnel, organization documents submitted to obtain
                             4                     eligibility certification under the program, and documents submitted for personnel
                             5                     in compliance with the IPA program, including ethics statements; and
                             6                  c. a list of names of officials hired through the IPA program to this agency.3
                             7            21.      Mr. Fang also asked DOD for “an exemption to any fees” because he is a member
                             8 of the news media. Attached as Exhibit A is a true and correct copy of the FOIA Request.

                             9            22.      On July 1, 2020, DOD acknowledged receipt of the FOIA Request and assigned it
                            10 case number 20-F-1304. Attached as Exhibit B is a true and correct copy of this acknowledgment

                            11 of receipt. DOD stated they would “not be able to respond within the FOIA’s 20-day statutory
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                            12 time period” due to “unusual circumstances.”

                            13            23.      There has been no further response from DOD.
                            14            24.      On June 29, 2020, Mr. Fang sent a FOIA Request to the Securities and Exchange
                            15 Commission (“SEC”) for the IPA documents. Attached as Exhibit C is a true and correct copy of

                            16 the FOIA Request.

                            17            25.      On July 1, 2020, SEC acknowledged receipt of the FOIA Request, and assigned it
                            18 case number 20-01675-FOIA. Attached as Exhibit D is a true and correct copy of this

                            19 acknowledgment of receipt.
                            20            26.      There has been no further response from SEC.
                            21            27.      On June 29, 2020, Mr. Fang sent a FOIA Request to the Department of Homeland
                            22 Security (“DHS”) for the IPA documents. Attached as Exhibit E is a true and correct copy of the

                            23 FOIA Request.

                            24            28.      On July 14, 2020, DHS acknowledged receipt of the FOIA Request, and assigned it
                            25 case number 2020-HQFO-01360. Attached as Exhibit F is a true and correct copy of this

                            26 acknowledgment of receipt. DHS wrote that they “may encounter some delay in processing our

                            27 request.” Id.
                            28
                                 3
                                     The subject of the FOIA request will be referred to hereafter as the “IPA documents.”
                                                                                    4
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                             1          29.    There has been no further response from DHS.
                             2          30.    On June 30, 2020, Mr. Fang sent a FOIA Request to the Office of Management and
                             3 Budget (“OMB”), for the IPA documents. Attached as Exhibit G is a true and correct copy of the

                             4 FOIA Request.

                             5          31.    On June 30, 2020, OMB acknowledged receipt of the FOIA Request, and assigned
                             6 it case number 2020-427. Id.

                             7          32.    There has been no further response from OMB.
                             8          33.    On July 13, 2020, Mr. Fang sent a FOIA Request to the Department of
                             9 Transportation (“DOT”), for the IPA documents. Attached as Exhibit H is a true and correct copy

                            10 of the FOIA Request.

                            11          34.    On July 14, 2020, DOT acknowledged receipt of the FOIA Request, and assigned it
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                            12 case number 2020-293. Attached as Exhibit I is a true and correct copy of this acknowledgment

                            13 of receipt.

                            14          35.    There has been no further response from DOT.
                            15          36.    On July 13, 2020, Mr. Fang sent a FOIA Request to the Department of Health and
                            16 Human Services (“HHS”) for the IPA documents. Attached as Exhibit J is a true and correct

                            17 copy of the FOIA request.

                            18          37.    On July 15, 2020, HHS acknowledged receipt of the FOIA Request, and assigned it
                            19 case number 2020-01468-FOIA-OS. Attached as Exhibit K is a true and correct copy of this
                            20 acknowledgment of receipt.

                            21          38.    There has been no further response from HHS.
                            22          39.    On July 13, 2020, Mr. Fang sent a FOIA Request to the Department of the Treasury
                            23 (“Treasury”), for the IPA documents. Attached as Exhibit L is a true and correct copy of the

                            24 FOIA Request.

                            25          40.    On July 16, 2020, Mr. Fang sent an email to Treasury to clarify the scope of the
                            26 request. He indicated he was seeking records of IPA agreements for Office of the Secretary,

                            27 Commissioner of Internal Revenue Service, Office of the Comptroller of the Currency, Under
                            28   Secretary of Terrorism and Financial Intelligence. Attached as Exhibit M is a true and correct

                                                                                5
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                             1 copy of the email.

                             2          41.     On July 17, 2020, Treasury acknowledged receipt of the FOIA Request, and
                             3 assigned it case number 2020-07-080. Attached as Exhibit N is a true and correct copy of this

                             4 acknowledgment of receipt.

                             5          42.     Treasury routed Mr. Fang’s request to the Internal Revenue Service (“IRS”) and to
                             6 the Office of the Comptroller of the Currency for processing. Id. In addition, Treasury requested

                             7 “additional processing extension of (10) days” to process the request. Id.

                             8          43.     On August 13, 2020, IRS acknowledged the request to Treasury had been
                             9 transferred to it. IRS stated it will initiate “a search with IRS Human Capital to locate any

                            10 responsive documents.” Attached as Exhibit O is a true and correct copy of this communication.

                            11          44.     On August 13, 2020, IRS assigned the FOIA request case number 2020-05601.
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                            12 Attached as Exhibit P is a true and correct copy of this letter. IRS also requested additional time

                            13 to respond to the request, expecting “to complete your request by October 1, 2020.” Id.

                            14          45.     On September 29, 2020, IRS requested another extension to respond to the request,
                            15 expecting “to complete your request by November 30, 2020.” Attached as Exhibit Q is a true and

                            16 correct copy of this response.

                            17          46.     There has been no further response from IRS.
                            18                                     FIRST CAUSE OF ACTION
                            19                                            (Violation of FOIA)
                            20          47.     Plaintiffs reallege and incorporate the allegations contained in the preceding
                            21 paragraphs as if fully set forth herein.

                            22          48.     Plaintiffs’ FOIA Requests seek “agency” records within the Defendants’ custody
                            23 and control.

                            24          49.     Defendants failed to produce any responsive records to Plaintiffs’ FOIA Requests.
                            25 Plaintiffs have a legal right under FOIA to obtain the agency records they requested in their FOIA

                            26 Requests, and there exists no “exceptional circumstances” or legal basis for Defendants’ failure to

                            27 respond to Plaintiffs’ FOIA Requests and to make these records available.
                            28

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                             1          50.    Defendants’ failure to make promptly available the records sought by Plaintiffs’
                             2 FOIA Requests violates FOIA, 5 U.S.C. § 552(a)(3)(A) and (a)(6)(A)(ii), and applicable

                             3 regulations promulgated thereunder.

                             4          51.    Plaintiffs are entitled to declaratory relief finding that Defendants have violated
                             5 FOIA and are immediately entitled to receive all records responsive to their request.

                             6          52.    Plaintiffs are further entitled to injunctive relief, ordering Defendants to
                             7 immediately produce copies of all records responsive to Plaintiffs’ FOIA Requests without further

                             8 delay.

                             9                                        PRAYER FOR RELIEF
                            10          WHEREFORE, Plaintiffs request the Court award them the following relief:
                            11          A.     Declare that Defendants violated FOIA in their response to Plaintiffs’ FOIA
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                            12 Requests;

                            13          B.     Order Defendants to immediately disclose the requested records to Plaintiffs and
                            14 enter an injunction prohibiting Defendants from continuing to withhold the requested records;

                            15          C.     Order Defendants to immediately disclose any responsive records in their
                            16 possession or control to Plaintiffs;

                            17          D.     Award Plaintiffs their reasonable costs and attorney’s fees;
                            18          E.     Grant such further relief as the Court may deem just and proper.
                            19
                            20 Dated: November 2, 2020

                            21                                                Respectfully submitted,
                            22                                                DAVIS WRIGHT TREMAINE LLP
                            23
                                                                              By: /s/ Thomas R. Burke
                            24                                                    THOMAS R. BURKE
                            25                                                Attorneys for Plaintiffs
                                                                              THE INTERCEPT and LEE FANG
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